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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


KENNETH SNOWDEN et al.,           *
                                  *
          Plaintiffs,             *
                                  *
v.                                *                         Civil No. PJM 18-160
                                  *
PRINCE GEORGE’S COUNTY            *
DEPARTMENT OF CORRECTIONS et al., *
                                  *
          Defendants.             *

                                  MEMORANDUM OPINION

       Plaintiffs Kenneth Snowden, David Francis, Kevin Stewart, Darnell Munden, Duran

Carrington, and Michael Harris have filed a Motion for Clerk’s Entry of Default. ECF No. 18.

Defendants oppose the Motion and ask that they be granted leave to file an untimely Motion to

Dismiss (ECF No. 20), which they filed simultaneously with their Opposition (ECF No. 21). For

the reasons that follow, the Court will DENY Plaintiffs’ Motion and GRANT Defendants’

request for leave to file a late Motion to Dismiss.

                     I.      FACTUAL AND PROCEDURAL BACKGROUND

       Plaintiffs are all Muslim inmates at Prince George’s County Department of Corrections.

ECF No. 12 ¶¶ 10-15. On January 18, 2018, Plaintiffs filed a Complaint alleging various

statutory and constitutional violations of their right to free exercise of religion and religious

discrimination. ECF No. 1. Specifically, Plaintiffs allege that Defendants have unlawfully

implemented an Islam-specific policy concerning the religious practices of Muslim inmates, and

not inmates of other faiths, and have arbitrarily and unjustly prohibited Muslim inmates from

performing Friday religious services and daily congregational prayers; whereas, inmates of other

faiths are permitted to congregate regularly throughout the day.

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       On January 23, 2018, Plaintiffs filed an Amended Complaint to replace the “Unnamed

Chaplain” and name Reverend James Penn as a Defendant in his official and individual

capacities. ECF No. 12. On March 21, 2018, Plaintiffs filed proof of service, indicating that all

Defendants had been served as of January 27, 2018, by certified mail. ECF No. 16.

       After no timely response was filed by Defendants, Plaintiffs filed a Motion for Clerk’s

Entry of Default on April 4, 2018. ECF No. 18. The next day, on April 5, 2018, Defendants filed

an Opposition to the Motion and simultaneously filed a Motion to Dismiss. ECF Nos. 20, 21.

Plaintiffs then filed a Reply and an Opposition to the Motion to Dismiss. ECF Nos. 23, 24.

                                            II.     ANALYSIS

       A. Legal Standard

       Federal Rule of Civil Procedure 55(c) permits the Court to set aside an entry of default

for good cause. Fed. R. Civ. P. 55(c). “When deciding whether to set aside an entry of default, a

district court should consider whether the moving party has a meritorious defense, whether it acts

with reasonable promptness, the personal responsibility of the defaulting party, the prejudice to

the party, whether there is a history of dilatory action, and the availability of sanctions less

drastic.” Colleton Preparatory Acad., Inc. v. Hoover Universal, Inc., 616 F.3d 413, 417 (4th Cir.

2010). The Fourth Circuit has repeated a strong preference that, as a general matter, “defaults be

avoided and that claims and defenses be disposed of on their merits.” Id. Delay in and of itself

does not constitute prejudice to the opposing party. Id. at 418. Just as there is “no cognizable

prejudice inheres in requiring a plaintiff to prove a defendant’s liability, a burden every plaintiff

assumes in every civil action filed in every federal court.” Id. at 419.




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           B. Plaintiffs’ Request for Entry of Default

           In light of the Fourth Circuit’s “long-held view that that Rule 55(c) motions must be

‘liberally construed in order to provide relief from the onerous consequences of defaults and

default judgments,’” id. at 421, Plaintiffs’ Motion is denied. Defendants’ correspondence with

Plaintiffs’ counsel reflects that they believed there was an issue with service and that they were

willing to discuss a possible settlement in the case. ECF No. 20 at 10. Moreover, the certified

mail return receipts are not signed and defense counsel represents that there was a delay in

receiving the Summons and Amended Complaint. Id. at 3-4. According to defense counsel, they

alerted Plaintiffs’ counsel of this issue and Plaintiffs’ counsel informed them that they would

look into it and “get back to [them].” Id. at 4. However, Plaintiffs’ counsel responded the next

day that they were filing a request for entry of default. Id. Defendant immediately opposed the

request for entry of default.

           Defendants have since filed a Motion to Dismiss, arguing that Plaintiffs have sued the

wrong Defendant and should have sued Prince George’s County. ECF No. 21. The Motion also

raises issues regarding the damages sought under the Religious Land Use and Institutionalized

Persons Act. Id. Plaintiffs have indicated that they are willing to substitute Defendants. ECF No.

23 at 2.

           Though Defense counsel should have been more diligent in filing a response in this case

since they did in fact receive the Summons and Amended Complaint, they have shown good

cause to avoid the “onerous consequences of default judgment.” Colleton Preparatory Acad.,

616 F.3d at 421. Mere delay does not prejudice Plaintiffs.

           The case shall proceed on the merits.




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                                       III.    CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion for Clerk’s Entry of Default (ECF No. 18) is

DENIED. Defendants’ Motion for leave to file late a Motion to Dismiss is GRANTED. ECF

No. 20. The Court will schedule a hearing on the pending Motion to Dismiss. ECF No. 21.

       A separate Order will ISSUE.



                                                                  /s/            _
                                                         PETER J. MESSITTE
                                                    UNITED STATES DISTRICT JUDGE
April 23, 2018




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